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                                   UNITED STATES DISTRICT COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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        SYNOPTEK, LLC, a California             CASE NO. 8:16−cv−01838 CJC(JDEx)
   12   limited liability company,
                                                Honorable Cormac J. Carney
   13                            Plaintiff,
   14                            vs.            ORDER OF DISMISSAL
   15   SYNAPTEK CORPORATION, a
        Virginia corporation,
   16                                           Complaint Filed: October 7, 2016
                                 Defendant.
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        4835-6515-8521v1/102759-0011
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    1           Pursuant to the parties’ “Stipulation of Dismissal With Prejudice,” and good
    2   cause appearing therefore,
    3           IT IS HEREBY ORDERED that the above-referenced action between
    4   Plaintiff Synoptek, LLC and Defendant Synaptek Corporation, including all claims
    5   and counterclaims, is hereby dismissed with prejudice pursuant to the terms of a
    6   confidential settlement agreement. Pursuant to the stipulation, the Court shall
    7   retain jurisdiction to enforce the terms of the settlement agreement for a period of
    8   two years from the date hereof.
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   10           IT IS SO ORDERED.
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        DATED: November 8, 2018                    By:
   12                                                    Cormac J. Carney
   13                                                    United States District Judge
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                                       ORDER OF DISMISSAL
        4835-6515-8521v1/102759-0011                                CASE NO. 8:16-cv-01838
